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         Order Regarding Motion for Sentence Reduction Under 18 U.S.C. § 3582(c)(2)



                                   UNITED STATES DISTRICT COURT
                                                       Eastern District of Arkansas

            UNITED STATES OF AMERICA
                       V.
                                                                               Case Number:           4:07-CR-00086-07-JMM
                KEITH ERIC GATEWOOD
                                                                               USM Number:            24604-009

Date of Original Judgment: July 20, 2009                                       Justin Eisele
(Or Date of Last Amended Judgment)                                             Defendant’s Attorney

      Upon motion of X the defendant        G the Director of the Bureau of Prisons     G the court
      under 18 U.S.C. § 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline
      sentencing range that has subsequently been lowered and made retroactive by the United States Sentencing
      Commission pursuant to 28 U.S.C. § 994(u), and having considered such motion,

      IT IS ORDERED that the motion is:
             G DENIED.
             X GRANTED and the defendant’s previously imposed sentence of imprisonment of
                   72 months is reduced to 58 months.

I. COURT DETERMINATION OF GUIDELINE RANGE

 Previous Offense Level(Before       27                                          Amended Offense Level:        25
 Departure/Variance/Rule 35):

 Criminal History Category:          III                                         Criminal History Category:    III

 Previous Guideline Range:           87 to 108 months                            Amended Guideline Range:      70 to 87 months



II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE

G The reduced sentence is within the amended guideline range.
X The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at
       the time of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is
       comparably less than the amended guideline range.
G Other (specify) __________________________.

III. FURTHER EXPLANATION (e.g., recommendations to the Bureau of Prisons) (if necessary)

The Order is effective immediately on November 1, 2011, if Congress does not override the United Sentencing Commission’s
determination that the new guidelines are retroactive. If Congress determines that the amendments are not retroactive, this
Order will be void and vacated.

Except as provided above, all provisions of the judgment dated April 4, 2008 will remain in effect.

IT IS SO ORDERED.

Order Date: October 31, 2011                                                     ________________________________
                                                                                 United States District Judge

Effective Date (if delayed): November 1, 2011
